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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Cuauhtemoc Hernandez
                                  Plaintiff,
v.                                                     Case No.: 1:23−cv−16970
                                                       Honorable Sunil R. Harjani
Thomas Dart, et al.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 7, 2024:


        MINUTE entry before the Honorable Sunil R. Harjani: In−person motion hearing
held. For the reasons stated on the record, Defendants' motion to consolidate and reassign
[34] is granted in part. The Clerk of the Court is directed to reassign and consolidate
Hernandez v. Thomas Dart, Sheriff of Cook County, et al. (1:23 C 16970) with Mathis v.
Thomas Dart, Sheriff of Cook County, et al (1:24 C 1127) to this court pursuant to Fed. R.
Civ. P. 42 and Local Rule 40.4. Fact discovery deadline of 2/28/2025 (Hernandez v.
Thomas Dart, et al) and 10/31/2024 (Mathis v. Thomas Dart, et al.) shall stand. Plaintiffs'
consolidated motion for class certification due by 8/15/2024. Defendants' response brief
due 9/16/2024. Plaintiff's reply due 9/27/2024. In−person oral argument set for
10/23/2024 at 10:00 a.m. Mailed notice(lxs, )




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